      Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 1 of 17




                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA
______________________________________

United States of America,
                             Plaintiff,
                                                 21 - CR - 399 (RDM)
                    v.

Roman Sterlingov,

                             Defendant.

______________________________________




      Defendant’s Supplemental Motion to Free Untainted Seized Assets
            Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 2 of 17




                                                           Table of Contents
Introduction ..................................................................................................................................... 3
Procedural Posture .......................................................................................................................... 4
Background ..................................................................................................................................... 4
Argument ...................................................................................................................................... 11
I. Mr. Sterlingov Needs the Seized Funds to Pay for Counsel of His Choice, Blockchain
Forensic Experts, and the Cost of Trial ........................................................................................ 12
      A.     The Seized Funds Are Necessary to Pay Counsel of Choice ......................................... 13
      B.     The Seized Funds are Necessary to Pay Blockchain & Computer Forensics Experts ... 14
II.        The Government Lacks Probable Cause to Seize Mr. Sterlingov's Assets ........................ 14
Conclusion .................................................................................................................................... 15




                                                                         2
        Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 3 of 17




                                           Introduction

        Defendant Roman Sterlingov submits this Supplemental Motion to release his seized

assets at the request of the Court. Mr. Sterlingov has a Sixth Amendment right to counsel of his

choice, and a Fifth Amendment right to put on a complete defense. His untainted seized funds

are the only way he has to pay for his defense in this novel, complex crypto currency

prosecution. The untainted seized funds come from Mr. Sterlingov's personal money earned

through legal employment in Sweden and then invested in Bitcoin before Bitcoin explodes in

value. There is no evidence that they are the proceeds of any crime. The Government has yet to

identify a single crime tied to any of Mr. Sterlingov's assets. Its bare bones' Indictment is a direct

reflection of the paucity of its case.

        As a computer geek and early adopter of Bitcoin, Mr. Sterlingov, like many, used Bitcoin

Fog for the completely legal purpose of securing the privacy of his rapidly appreciating Bitcoin

assets. The Government's own principal forensics' vendor and expert on this case, Chainalysis,

Inc. (“Chainalysis”), states that privacy and security concerns are behind roughly 90% of all

Bitcoin mixer usage; criminal activity accounts for less than 10%.

        The Government has not charged Mr. Sterlingov with using Bitcoin Fog - they cannot

because that isn't illegal. It is legal to mix your paycheck, or currencies you purchased with your

paycheck. That is what Mr. Sterlingov did. And there is no evidence of Mr. Sterlingov ever

operating or administrating Bitcoin Fog, despite a lengthy and expensive investigation. The

Government's case turns entirely on the work of investigators at computers far from Sweden,

years after the fact, speculating. It masquerades as science when it’s arbitrary and suffused with

confirmation bias and conflicts of interest.




                                                  3
          Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 4 of 17




         Mr. Sterlingov maintains his innocence in the face of the Government's forensic junk

science juggernaut. But without his seized assets he cannot afford counsel of his choice, the

forensic experts necessary to rebut the Government's conflicted junk science, and the costs of

what will be a lengthy and costly trial. This Court should release Mr. Sterlingov’s assets for the

sole purpose of paying his legal fees and expenses in this complex cryptocurrency blockchain

prosecution involving numerous matters of first impression and novel, newly emergent

blockchain forensics that have never been tested thoroughly in any court of law. Otherwise, he

cannot put on the defense that is his right under the Constitution. This supplemental motion

incorporates by reference the arguments made in his prior Motion for Release of Funds.1


                                             Procedural Posture

         On August 1, 2022, undersigned counsel filed a Motion for Release of Funds.2 On

August 29, 2022, the Government filed its Opposition.3 On December 2, 2022, the Court asked

for supplemental briefing as to the seized assets, set a briefing schedule, and set the matter for a

hearing on January 13, 2023.4


                                                  Background

         Mr. Sterlingov is a computer geek and early adopter of Bitcoin. He first heard of Bitcoin

in 2010 and set up his first wallet that same year.5 At age 14 Mr. Sterlingov flees Russia with his

mother, moving to Jonkoping, Sweden.6 After graduating the Swedish equivalent of high school

in Jonkoping he works several odd jobs - both manual and digital - before landing a full-time job

1
  (Dkt. No. 48).
2
  (Id.).
3
  (Dkt. No. 53).
4
  (See Dkt. Dec. 2, 2022, (ordering hearing on seized assets on Jan. 13, 2023)).
5
  (Decl. of R. Sterlingov at ¶ 9 (Ex. A)).
6
  (Id. at ¶ 2-3).



                                                          4
        Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 5 of 17




with Capo Marknadskommunikation.7 Capo Marknadskommunikation provides full-service

marketing both traditional and digital. Mr. Sterlingov keeps this job when he moves in around

2009 to Gothenburg, Sweden, where he lives when not held pretrial in the Northern Neck

Regional Jail in rural Warsaw, Virginia. 8 He is currently 32 years old.

        Around 2011, Mr. Sterlingov began buying, selling, and investing in Bitcoin thinking that

it was a good additional income source on top of his day job.9 He enjoyed socializing with the

people that he met at Bitcoin meetups that were sprouting up at this time. Mr. Sterlingov never

made a significant amount of money from his sales commissions or trading of cryptocurrencies.10

The discovery reflects this, leaving the Government referencing secret assets only it can see to

explain the disparity between Mr. Sterlingov's actual net worth of less than a million dollars, and

what it would be if he was the Government's fantasy crypto drug money laundering king pin

earning regular royalty payments on some $330 million of criminal proceeds.11 The substantial

portion of his current assets comes from the dramatic appreciation of Bitcoin from the time he

began to dabble with it. This is no different than someone buying a stock that rapidly shoots up

in value.

        On January 1, 2011, you can buy 1 BTC for $0.30 USD.12 On January 1, 2014, it costs

$754.22.13 By the time of Mr. Sterlingov’s arrest, on April 21, 2021, the closing price of Bitcoin

is $55,022.04.14




7
  (Id. at ¶ 4-6).
8
  (Id. at ¶ 6).
9
  (Id. at ¶ 13).
10
   (Id. at ¶ 9-12).
11
   (See Statement of Net Worth (Ex. B) (filed under seal)).
12
   See https://www.in2013dollars.com/bitcoin-price-in-2011.
13
   See https://www.in2013dollars.com/bitcoin-price-in-2014.
14
   See https://www.statmuse.com/money/ask/bitcoin+price+april+27%2C+2021.



                                                    5
         Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 6 of 17




         Early on, someone recommended that Mr. Sterlingov use a Bitcoin mixer site known as

Bitcoin Fog for privacy and security reasons.15 Concerned about the privacy and security of his

assets, Mr. Sterlingov became a user of Bitcoin Fog. He never ran or operated Bitcoin Fog in any

capacity. He has no administrator login credentials for Bitcoin Fog and never has.16 There is

nothing in the evidence that shows otherwise. All the evidence is entirely consistent with his

innocence and at this juncture he is entitled to the presumption of innocence, not the

Government's presumption of guilt.

         As part of his routine InfoSec and OpSec measures, Mr. Sterlingov mixes most, if not all,

of his Bitcoin before depositing it into his Kraken Accounts the Government seized.17 So do

countless Bitcoin users. Michael Gronager, co-founder of Chainalysis - the key for profit

forensic company in this case - is a co-founder of Kraken; it is not a criminal enterprise.18

Mixing your crypto currency for privacy and security is a common practice, as the Government's

own blockchain expert and vendor Chainalysis attests.

         According to Chainalysis most cryptocurrencies people tumble have no connection to

darknet activity or involve stolen funds. In a 2019 webinar, “Cryptocurrency Typologies: What

You Should Know about Who’s Who on the Blockchains,” Chainalysis states that “users of

mixing services mostly leverage [mixers] for privacy reasons.”19 Here is Chainalysis'

visualization of the flow of funds into crypto mixers like Bitcoin Fog:


15
   (Id. at ¶ 15).
16
   (Id.).
17
   "InfoSec" is short for "Information Security" and "OpSec" is short for Operational Security. See, e.g.,
https://www.commerce.gov/osy/programs/information-security (giving an example of InfoSec);
https://www.commerce.gov/osy/programs/operations-security-opsec (giving an example of OpSec).
18
   See Crunchbase, INDIVIDUAL INVESTOR: MICHEL GRONAGER, available at
https://www.crunchbase.com/person/michael-gronager (last accessed Dec. 20, 2021).
19
   Aaron Van Wirdum, Chainalysis: Most Mixed Bitcoin Not Used for Illicit Purposes, Bitcoin Magazine (Aug. 26,
2019) available at, https://bitcoinmagazine.com/articles/chainalysis-most-mixed-bitcoin-not-used-for-illicit-purposes
(last accessed Dec. 21, 2022).



                                                         6
        Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 7 of 17




       Mr. Sterlingov mixes his Bitcoin for the same reasons the overwhelming majority of

people using crypto mixers do - to protect his privacy and assets from theft. There is no evidence

that any of Mr. Sterlingov's funds are the proceeds of any crime. Simply saying they came from a

mixer is not enough. Even if Mr. Sterlingov ran Bitcoin Fog for a decade, for which there is no

evidence, by Chainalysis' own analysis only about 10% of cryptocurrency sent to mixers like

Bitcoin Fog involve criminal activity.

       In its webinar, Chainalysis claims that it can trace the source of funds going into a mixer.

Nothing in the discovery reveals that any of Mr. Sterlingov's funds come from the proceeds of a

crime. That proposition is entirely the speculation of conflicted government investigators

unsupported by any evidence. One of those Government investigators - Aaron Bice - uses this

case to launch a multi-million dollar company he sells to Chainalysis for a substantial sum a few

months after Mr. Sterlingov's arrest. Mr. Bice is just one example of individuals involved with




                                                7
         Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 8 of 17




this case using it for marketing purposes, something that calls into question the credibility,

reliability, and integrity of the Government's evidence and forensics.20

        In 2014, when Bitcoin skyrockets in value, Mr. Sterlingov decides to take six-months off

from work, with his employer’s consent.21 Around this time, Mr. Sterlingov opens a Kraken

account to manage his appreciating crypto assets. He does this in his own name and provides

valid identification.22 Later, when Mr. Sterlingov starts To the Moon, Ltd. (“To the Moon”), a

legal VPN business based out of Malta, he creates a second Kraken account. To The Moon never

takes off, because Mr. Sterlingov underestimated the amount of work it would take.23 The

Government seized and searched the To the Moon server and there is no evidence on it of Mr.

Sterlingov operating or administering the far more complicated Bitcoin Fog Tor network onion

mixing site.

        Just like they found no evidence that Mr. Sterlingov operated Bitcoin Fog on the

computers, hard drives, thumb drives, phones, and notebooks they seized when they arrested him

at LAX. And just like the Government found no evidence he operated Bitcoin Fog during the

Government’s extensive physical, wiretap, and pen trap surveillance of Mr. Sterlingov when he

visited the United States. Had the Government bothered to do any witness interviews in Sweden

or bothered to research Mr. Sterlingov's personal life at all, they would have discovered the

same. But they did not. Throughout its investigation the Government and its vendors cut corners

and construe normal business and computer activities by Mr. Sterlingov as nefarious - without

any solid evidence, and all while marketing their blockchain investigatory prowess to the



20
   (See, e.g., Defendant's Opposition to Government's Mot. to Quash Chainalysis et. al. Subpoenas, (Dkt. No. 97)).
21
   (Decl. of R. Sterlingov at ¶ 19 (Ex. A)).
22
   (Id. at ¶ 28).
23
   (Id. at ¶ 33).



                                                         8
          Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 9 of 17




media.24 The Government constantly sees what it wants to see while ignoring contradictory

evidence like investigative reports naming a host of suspects other than Mr. Sterlingov.25

         The origin of Mr. Sterlingov’s funds are the Bitcoin he bought with the money he earned

from his legal jobs and what little he made trading and selling Bitcoin.26 Mr. Sterlingov’s

accounts do not knowingly contain any illegal proceeds. There is nothing in the evidence that

shows otherwise. Nothing in the Government’s discovery shows the source of Mr. Sterlingov’s

deposits. Mr. Sterlingov’s own hard work and foresight are the sources of those deposits, not the

fantastic money laundering scheme envisioned by the Government.

         A review of Mr. Sterlingov's Kraken accounts supports his story.27 There are only 84

deposits on it (in the incomplete version produced by the Government). Mr. Sterlingov rarely, if

ever, exchanged Bitcoin for U.S. currency and all U.S. dollar amounts in the pleadings are the

Government's calculations.28 In 2014 you can see him depositing his money, and over the course

of time the deposits dwindle as Mr. Sterlingov lives off the capital gains from his fortuitous

investments.

         The Government argues that the Kraken account contained service fee payments from

Bitcoin Fog, but this doesn't withstand cursory analysis. Between March 19, 2014, and October

25, 2019, there are only 571 listed transactions in Mr. Sterlingov’s Kraken accounts, the majority

of which are not deposits and consist of Mr. Sterlingov’s trading activity. If the Kraken deposits

were service fee payments from Bitcoin Fog transactions, why are they inconsistent, dwindle


24
  See, e.g., Andy Greenberg, TRACERS IN THE DARK: THE GLOBAL HUNT FOR THE CRIME LORDS OF
CRYPTOCURRENCY 290-91 (discussing this case) (Doubleday, Nov. 15, 2022); id. at Index (containing       entries for a
large number of individuals and entities that worked on this case).
25
   There are several documents in the discovery pointing to individuals and entities other than Mr. Sterlingov.
26
   (See Decl. of R. Sterlingov at ¶4, 9-13(Ex. A)).
27
   The Government’s spreadsheet of Mr. Sterlingov’s Kraken accounts could not be easily attached as an exhibit, it
is available from the Defense upon request by the Court or the Government.
28
   (See Decl of R. Sterlingov at ¶ 56(Ex. A)).



                                                          9
         Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 10 of 17




over time, and not add up to what one would expect from regular payments from a massive

crypto money laundering organization? The Kraken accounts don't support the Government's

case - they are entirely consistent with Mr. Sterlingov's innocence, just like all the evidence in

this case. The Kraken accounts reveal no steady stream of service fee payments from what the

Government claims is $330 million worth of transactions. Nor does the Government even

identify a single criminal transaction for any of the deposits entering the Kraken accounts. You

must apply a presumption of guilt to reach that conclusion, something that is unconstitutional

pretrial. All the evidence in this case is speculative and flimsy.

         The criminal complaint and the Government’s case also rely heavily on using IP

addresses as a form of personal identification for entirely legal acts like registering the name of a

website - years before the statute of limitations for the vaguely charged crimes. Even assuming,

arguendo, the data routed through the IP addresses in question originated from Mr. Sterlingov’s

studio apartment, he had numerous guests and friends who came and stayed at his apartment and

used his WiFi during this period of time over a decade ago.29 IP addresses can be spoofed, and

highjacked.30 Courts long ago recognize the inherent problems in using internet routing

addresses as a means of personal identification.31 The readers of this brief right now, if they are

at office or at home, are likely using an IP Address shared with others.




29
   (See Decl of R. Sterlingov at ¶ 16 (Ex. A)).
30
    See, e.g., Cloudfare, WHAT IS IP SPOOFING?, available at https://www.cloudflare.com/learning/ddos/glossary/ip-
spoofing/ (last accessed Dec. 20, 2022) ("The ability to modify the source IP is inherent to the design of TCP/IP,
making it an ongoing security concern."); Geeks for Geeks, TCP/IP Hijacking, available at
https://www.geeksforgeeks.org/tcp-ip-hijacking/ (last accessed Dec. 20, 2022) ("After hijacking a TCP/IP session,
an attacker is able to easily read and modify the transferred packets and the hacker is also able to send its own
requests to the user.").
31
    See, e.g., In re Nickelodeon Consumer Privacy Litigation, 827 F. 3d 262, 283-84 (3d Cir. 2016) (discussing issue).



                                                         10
        Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 11 of 17




        After Mr. Sterlingov’s arrest on April 27, 2021, the Government seizes substantially all

of his assets.32 His access to the small amount of assets the Government didn't seize is hampered

by the difficulties of communicating from the jail he's in and having to use a power of attorney

through a relative to liquidate them. What he has been able to access has already been spent on

his legal defense.33All of it are assets that Mr. Sterlingov legally earned either through his hard

work, or as a return on his foresight for being an early Bitcoin adopter.

                                                  Argument

        The Sixth Amendment to the United States Constitution guarantees Mr. Sterlingov the

right to counsel of his choice. Erroneous deprivation of a defendant's counsel of choice is a

reversible structural error.34 Seizure of a defendant's property untainted by any crime, as

happened here, violates the Sixth Amendment's assistance of counsel clause because it makes it

impossible for a defendant to pay for their lawyer of choice:

                 In this case, the Government has obtained a court order that freezes
                 assets belonging to the third category of property, namely, property
                 that is untainted by the crime, and that belongs fully to the
                 defendant. That order, the defendant says, prevents her from
                 paying her lawyer. She claims that insofar as it does so, it violates
                 her Sixth Amendment 'right ... to have the Assistance of Counsel
                 for [her] defence.' We agree.35

        This Court has ordered a hearing on January 13, 2023, into whether to release Mr.

Sterlingov's seized assets for his legal fees and expenses. United States v. Monsanto guides the




32
   (See Ex. B (filed under seal)).
33
   (Id.).
34
   See United States v. Gonzalez-Lopez, 548 U.S. 140, 150 (2006) ("We have little trouble concluding that erroneous
deprivation of the right to counsel of choice, with consequences that are necessarily unquantifiable and
indeterminate, unquestionably qualifies as structural error." (citation omitted)); see generally, Legal Information
Institution, RIGHT OF CHOICE OF COUNSEL, available at https://www.law.cornell.edu/constitution-conan/amendment-
6/right-of-choice-of-counsel#fn9amd6 (last accessed Dec. 21, 2022) (collecting cases).
35
   Luis v. United States, 136 S. Ct. 1083 (2016).



                                                        11
         Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 12 of 17




analysis in this situation, requiring that there be probable cause connecting the seized assets to a

crime:36

                  In Monsanto, our principal case involving this procedure, we held
                  a pre-trial asset restraint constitutionally permissible whenever
                  there is probable cause to believe that the property is forfeitable.
                  That determination has two parts, reflecting the requirements for
                  forfeiture under federal law: There must be probable cause to think
                  (1) that the defendant has committed an offense permitting
                  forfeiture, and (2) that the property at issue has the requisite
                  connection to that crime.37

         The Government fails when it comes to point 2. Mr. Sterlingov cannot relitigate the

Grand Jury's finding of probable cause, but he doesn't need to for the purposes of this motion.

Because there is no probable cause linking any of his cryptocurrency assets to any identifiable

crime. This Court should unfreeze Mr. Sterlingov's assets for the sole purpose of paying his legal

fees and costs in this complex and novel crypto prosecution where he faces a potential life

sentence.

I.   Mr. Sterlingov Needs the Seized Funds to Pay for Counsel of His
Choice, Blockchain Forensic Experts, and the Cost of Trial

         The Government has seized substantially all of Mr. Sterlingov's assets. His pretrial jailing

for the last two years in a remote, difficult to communicate with location, along with the seizure

of his computers, phones, notebooks, and files severely limits his access to his assets. He has

listed his assets to the best of his abilities in his current circumstance, and those accessed and

paid to his attorneys since his arrest, in the attached exhibits.38 The attached Exhibit B, filed

under seal, contains these amounts. They are inadequate to mount a complete defense in a

complex cryptocurrency prosecution with untested, standardless, forensics and where the cost of


36
   See, United States v. Monsanto, 491 U.S. 600 (1989).
37
   Kaley v. United States, 134 S. Ct. 1090, 1094 (2014).
38
   (See Exs. A, and B (filed under seal)).



                                                           12
        Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 13 of 17




experts alone could run $500,000.00. In comparison, the Government has spent seven years on

this investigation, and millions of dollars, both on its investigation, and on its blockchain

forensic vendors Chainalysis, Excygent, and Elliptic.

        A.      The Seized Funds Are Necessary to Pay Counsel of Choice

        Mr. Sterlingov has chosen undersigned counsel Tor Ekeland Law, PLLC for his counsel.

Tor Ekeland Law (the "Firm") has spent the last decade litigating federal computer crime cases

across the country and internationally. Beginning in 2011 with United States v. Andrew

Auernheimer to the present day, the Firm marches at the vanguard of complex computer crime

trials. Some forty law reviews and numerous decisions cite Auernheimer for the Third Circuit's

analysis of the Firm's winning computer venue argument.39 The New York Times, the

Washington Post, and the Associated Press all recognize the Firm as computer law experts.40 The

national and international media routinely turn to the Firm for our insights on computer law.

Wired magazine lists three of our Computer Fraud and Abuse Act cases as among the “most

controversial hacking cases of the last decade.”41 There are four feature length documentaries on

Netflix, Amazon, Hulu and Peacock, and numerous shorter videos, on the Firm's computer cases

as well as numerous articles.42 The Firm's experience in complex federal criminal computer trials

is unparalleled. The Firm has a deep Rolodex of experts to work on this case, if it can pay them.




39
   United States v. Andrew Auernheimer 748 F3d 525 (3d. Cir. 2014).
40
   See www.torekeland.com.
41
   Kim Zetter, THE MOST CONTROVERSIAL HACKING CASES OF THE PAST DECADE, Wired Magazine (Oct 26, 2015),
available at https://www.wired.com/2015/10/cfaa-computer-fraud-abuse-act-most-controversial-computer-hacking-
cases/ (last accessed Dec. 21, 2022).
42
   See, e.g., Futurism Films Trailer, TRUST MACHINE: THE STORY OF BLOCKCHAIN, YouTube, available at
https://www.youtube.com/watch?v=hvohNgVWKvw (last accessed Dec. 21, 2022); NBC Peacock Official Trailer,
THE BATTLE FOR JUSTINA, YouTube, available at https://www.youtube.com/watch?v=1laM72Co0oM (last accessed
Dec. 21, 2022) (the Firm is in episodes 2 & 3); Official Trailer, ENEMIES OF THE STATE, YouTube, available at
https://www.youtube.com/watch?v=ez9cg-qK6-k (last accessed on Dec. 21, 2022).



                                                     13
        Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 14 of 17




        The Firm cannot afford to finance Mr. Sterlingov's defense, and the only source available

to do so are his untainted seized funds and what little is left of his assets the Government has not

seized.43

        B.    The Seized Funds are Necessary to Pay Blockchain & Computer Forensics
        Experts

        Mr. Sterlingov cannot defend himself against the Government's onslaught of expensive

experts without his own qualified and expensive experts. The Government's entire case turns on

its expert testimony. It has no eyewitnesses. No one who saw Mr. Sterlingov do what he is

accused of. No one heard him talking about doing it. No names of any of the alleged co-

conspirators. No communications with them. No computer logs showing him doing it. No

evidence of any administrator logins or administrator accounts for Bitcoin Fog. And not a single

transaction traced to any identifiable crime. The Government's case is foggy. To demystify it

costs money.


II.     The Government Lacks Probable Cause to Seize Mr. Sterlingov's Assets

        There is not a single piece of evidence tying Mr. Sterlingov to any identifiable crime.

90% of mixing transactions involve legitimate assets.44 All of the Government's accusations are

as vague and conclusory as its bare bones Indictment. That the Government, after an expensive

seven-year investigation, cannot produce an Indictment with any particularity is telling. Nothing

sums up the Government's case more than its forfeiture claim in its Indictment to "approximately

1,354 BTC currently held in the Bitcoin Fog wallet, identified by root address

1YZJKaAx2HRWvcbCXDBtQbBZcRU46WJqw." There is no evidence tying Mr. Sterlingov to

43
  (See Ex. B (sealed)).
44
  See Aaron Van Wirdum, Chainalysis: Most Mixed Bitcoin Not Used for Illicit Purposes, Bitcoin Magazine (Aug.
26, 2019) available at, https://bitcoinmagazine.com/articles/chainalysis-most-mixed-bitcoin-not-used-for-illicit-
purposes (last accessed Dec. 21, 2022).



                                                       14
       Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 15 of 17




this wallet. And a review of the public blockchain reveals that its current balance is zero, and that

its last transaction occurred on March 25, 2012. The Court can easily look this fact up using a

free blockchain wallet app (and competitor to Chainalysis) known as breadcrumbs.45 The

Government cannot meet its burden that any of the seized funds are the proceeds of any crime

because there is no evidence tying Mr. Sterlingov to any identifiable crime involving any of the

seized assets.

       This is not a bank robbery case, where the crime that occurred is obvious. This is a

complex Bitcoin prosecution that doesn't identify a single crime. As the Supreme Court points

out, an arrested bank robber can't use the bank's readily identifiable funds to pay for his

defense.46 But these brick-and-mortar cases are inapposite here, where the Government has

identified no actual crimes, the entire case turns on newly emergent, standardless blockchain

forensics, and all the forensic evidence is entirely consistent with the Defendant's innocence.


                                            Conclusion
       This Court should release all of Mr. Sterlingov's assets for the sole purpose of paying his

legal fees and costs because he has no other way of paying for them. None of his assets are the

proceeds of any crime; they are the results of him, as an early adopter of Bitcoin, investing his

paychecks and reaping the gain when Bitcoin's value skyrocketed. If the Government had

bothered to investigate the person who is Roman Sterlingov, instead of playing its numbers

game, it would've discovered this. All the evidence is entirely consistent with Mr. Sterlingov's

innocence, and he is constitutionally entitled to the presumption of innocence because no jury


45
   See, e.g. Breadcrumbs, Report on Bitcoin Wallet Address 1YZJKaAx2HRWvcbCXDBtQbBZcRU46WJqw,
available at https://www.breadcrumbs.app/reports/1YZJKaAx2HRWvcbCXDBtQbBZcRU46WJqw/2/10/10 (last
accessed Dec. 21, 2022).
46
   See Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 631 (1989).



                                                 15
       Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 16 of 17




has found him guilty. For a jury to find him innocent, he needs his legally earned money to fight

this misguided juggernaut of a prosecution. Therefore, he respectfully moves this Court for the

release of all his untainted assets that the Government has seized because they are not the

proceeds of any crime, and without them he cannot hire his counsel of choice or mount a

complete defense.


Dated: December 21, 2022                             Respectfully submitted,

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                                                     Email: contact@medvinlaw.com

                                                     Counsel for Defendant Roman Sterlingov




                                                16
       Case 1:21-cr-00399-RDM Document 101 Filed 12/21/22 Page 17 of 17




                                    Certificate of Service
       I hereby certify that on the 21st day of December 2022, the forgoing document was filed

with the Clerk of Court using the CM/ECF System. I also certify that a true and correct copy of

the foregoing was sent to the following individuals via e-mail:


                                                                        s/ Tor Ekeland



U.S. Department of Justice
District of Columbia
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                                                17
